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                                                         U.S. Department of Justice

                                                         United States Attorney
                                                         Southern District of New York


                                                         The Jacob K. Javits Federal Building
                                                         26 Federal Plaza, 37th Floor
                                                         New York, New York 10278


                                                         May 1, 2025
     BY CM/ECF AND EMAIL
     The Honorable P. Kevin Castel
     United States District Judge
     Southern District of New York
     New York, New York 10007

            Re:    United States v. Jason Galanis, 15 Cr. 643 (PKC)

     Dear Judge Castel:

            The Government respectfully requests an extension of time to respond to the defendant’s
     motion for repayment of restitution funds, which was filed in the above-captioned case on April 3,
     2025. (Dkt. 602).

             On April 3, 2025, the Court set a deadline of April 16, 2025, for the Government to respond
     to the defendant’s request. (Dkt. 603). In error, the undersigned counsel for the Government
     inadvertently did not timely respond. Accordingly, the Government requests this additional time in
     order to consider the Government’s position on the request and draft its response. The Government
     respectfully requests leave to file its response one week from today, on May 8, 2025.

Application Granted.                                     Respectfully submitted,
SO ORDERED.
Dated: 5/1/2025                                          JAY CLAYTON
                                                         United States Attorney

                                                      By: /s/ Dana R. McCann
                                                        Dana R. McCann
                                                        Assistant United States Attorney
                                                        Southern District of New York
                                                        (212) 637-2308


     cc: Counsel for Defendant Jason Galanis (by ECF)
